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                   Exhibit OO
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          RE:                                                                     an•..ru::..11C1'1.JLU"tlG   :0 9'f
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                      re    nee to your le

           Treasu,y notes th deci ·on by
          lihal Zimba - n ng          eJc,p en Corporation's 93;0.4 shareholding n    · Tin                            d
         40% sh hokting held ·n Todal (Pvt) Ltd' 'be bansf rred to De old ne l?vt) Ud, a compa:
        ,by Govemment rough lie rnist,y of            .and ·n;ng De,, \ct)men

       In this regard, in ine __ "th section 48(3) ©) o'f lhe Pubflc Fi a ce nage~ en Act \C - r 12:19 , lfUSltt'1
      authority is h reby granted for the nsfer o Zimbab e nlng Development CoJporalion'              ee\Ne 930/o
      shsrehok1ing in Kamativi Tin 'ne ,(Pvt)1Ltd and 40% sha ho ding he\d ·n loda lPY\\ Ltd o Deh:>\d
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      {Pvt) Ud.

      Please be guided according!y.




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SECRETARY f ,OR F1NANCE AND ECO'NO                                      ENI
          Hon. Prof. M Ncube, Mm·ste of Fnance and Econom·c De e\opmel\t
Cc;
          Dr. M.J.M' Sibanda, Chief Secre ary to tha President and Cabine\
          Mr. E.M. Zva dasara. Acting coo ntant G ne - I,
